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   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK


   HITLER CALLE, individually and on behalf of others
   similarly situated,                                      Case No. 20-CV-4178

                          Plaintiffs,                      MOTION TO WITHDRAW AS
                                                           COUNSEL
   -against-


   PIZZA PALACE CAFÉ LLC, SASHA
   ISHAQOV, YURI ISHAQOV, and VLADY
   DJOURAEV,

                         Defendants.

           Michael Faillace, Esq., the undersigned counsel, respectfully moves to withdraw as counsel
   for Plaintiff(s) in the above-captioned matter, as his last day of work with the law firm ofMichael
   Faillace & Associates, P.C. (the “Firm”) was November 7, 2021. Furthermore, he was suspended
   from practice by the Southern District of New York on November 8, 2021 and he was suspended
   by Eastern District of New York effective December 3, 2021. Mr. Faillace will not individually
   be asserting a charging or retaining lien in this case.

          Prior to the undersigned’s suspension by the Southern District of New York, the
   undersigned withdrew from the Firm and Catalina Sojo, Esq., became the sole owner of the Firm.
   The Firm has been renamed CSM Legal P.C. CSM Legal P.C., and specifically Ms. Sojo and
   Clela Errington, Esq., will continue to represent the Plaintiffs in this matter, and no party will be
   prejudiced if this Motion is granted. Plaintiffs have been notified of this arrangement and consents
   to it.

           WHEREFORE, undersigned counsel respectfully requests that this Court permit Michael
   Faillace to withdraw as counsel for the Plaintiff(s) in this matter.


   Dated: New York, New York                     Respectfully submitted,
          December 14, 2021

                                                 /s/ Michael Faillace
                                                 Michael Faillace, Esq.

                                                 Attorney for Plaintiff
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